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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 THE EYE CARE CENTER OF NEW                         Civil Action No. 20-5743(KM)(ESK)
 JERSEY, PA, on behalf of itself and all others
 similarly situated,

                        Plaintiff,

        v.                                                          STIPULATION

 THE HARTFORD FINANCIAL SERVICES
 GROUP and TWIN CITY FIRE INSURANCE
 COMPANY,

                        Defendant.

               IT IS HEREBY STIPULATED by and among the parties that

       1.      Plaintiff’s claims against Defendant the Hartford Financial Services Group only are

dismissed without prejudice, subject to reinstatement at a later time.

       2.      If Plaintiff reinstates a claim against Hartford Financial Services Group, any

potential defense under the time limitation set forth in Section E, Paragraph 4(b) of the Special

Property Coverage Form of the underlying policy will be based on a time period of 2 years and 6

months, instead of the stated 2 year-period.

CARELLA, BYRNE, CECCHI,                               STEPTOE & JOHNSON
OLSTEIN, BRODY & AGNELLO                              Attorneys for Defendants
Attorneys for Plaintiff


By:    /s/ James E. Cecchi                            By:    /s/ James L. Brochin
       JAMES E. CECCHI                                       JAMES L. BROCHIN


SO ORDERED this 10th day of July, 2020

  /s/ Kevin McNulty
KEVIN McNULTY, U.S.D.J.
